                        Case 4:12-cr-00306-KGB Document 235 Filed 02/19/13 Page 1 of 1
(Post.4/2/12)                                                                                                  FILED
                                                                                                             U.S. DISTRICT COURT
                                                                                                         EASTERN DISTRICT ARKANSAS

                                          IN THE UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF ARKANSAS
                                                   WESTERN DIVISION

                UNITED STATES OF AMERICA

                        vs.                            NO.   4: 12CR00306 KGB

                 Harold David Holladay, JR. aka DOC                                                      DEFENDANT


                                      WAIVER OF APPEARANCE FOR ARRAIGNMENT
                                         AND ENTRY OF PLEA OF NOT GUILTY
                               (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

                        NOW COMES Defendant in the above-referenced case who, along w@erundersigned attorney,
                hereby acknowledges the following:

                 1)     Defendant has received a copy of the indictment, superseding indictment or misdemeanor
                        information in this case. Defendant understands the nature and substance of the charges contained
                        therein, the maximum penalties applicable thereto, and ~er Constitutional rights, after being
                        advised of all of the above by~lher attorney.

                2)      Defendant understan~she has the right to appear personally wi~/her attorney before a Judge
                        for arraignment in open court on this accusation. Defendant further understands that, absent the
                        present waiver, 'llS/she will be so arraigned in open court.

                Defendant, having conferred with@lher attorney in this regard, hereby waives personal appearance with
                ~er attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
                information, and by this instrument tenders a plea of"not guilty." The defendant understands that entry by
                the Court of said plea for defendant will conclude the arraignment in this case for all purposes.


                        ~ll.[- 13
                        Date

                         ~' )q-         \?2
                        Date


                                                        ORDER OF COURT

                  rfi     The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                          plea of not guilty is entered for the defendant effective this date.

                          The defendant's request to waive appearance at the arraignme




                 cc:    All Counsel of Record
                        U.S. Probation Office
                        U.S. Marshals Service
                        Presiding Magistrate Judge
